  Case 23-04510         Doc 20   Filed 10/13/23 Entered 10/13/23 17:58:15             Desc Main
                                  Document     Page 1 of 11



Form G-3

                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                       EASTERN DIVISION
                               _______________DIVISION

In re: Midwest Leasing of Illinois                )   Chapter 7
                                                  )
                                                  )   No. 23-B-04510
                                                  )
           Debtor(s)                              )   Judge Janet S. Baer

                                     NOTICE OF MOTION

TO: See attached list

        PLEASE TAKE NOTICE that on October         31, 2023 at ______
                                            _______________,       10:00 a.m. , I will appear
                       Janet S. Baer
before the Honorable _______________________,,        or any judge sitting in that judge’s place,
                      615 of the Everett
either in courtroom _____                  McKinley Dirksen United States Courthouse ,
                                  ____________________________________________
_________________________________________or
219 S. Dearborn Street, Chicago, IL 60604                electronically as described below, and
                      Creditor Presence Central and Suburban Hospitals Network
present the motion of _____________________________________________________                 [to/for]
 an Order (i) reopening case and (ii) that the May 2 ....
_______________________________________________,               a copy of which is attached.

      All parties in interest, including the movant, may appear for the presentment of the
motion either in person or electronically using Zoom for Government (audio only).

      To appear by Zoom using the internet, go to this link: https://www.zoomgov.com/.
Then enter the meeting ID and passcode.

       To appear by Zoom using a telephone, call Zoom for Government at 1-669-254-5252
or 1-646-828-7666. Then enter the meeting ID and passcode.

                                                                            160 731 2971
       Meeting ID and passcode. The meeting ID for this hearing is ______________,
                          587656
and the passcode is ____________.        The meeting ID and passcode can also be found on
the judge’s page on the court’s web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without calling it.

                                           By: _____________________________________
                                               Christopher J. Letkewicz

                                               Benesch, Friedlander, Coplan & Aronoff LLP
                                               71 South Wacker Drive, Suite 1600
                                               Chicago, Illinois 60606-4637
                                               312.212.4949
                                               Attorney for Creditor Presence Central and
                                               Suburban Hospitals Network
  Case 23-04510       Doc 20     Filed 10/13/23 Entered 10/13/23 17:58:15           Desc Main
                                  Document     Page 2 of 11



                                CERTIFICATE OF SERVICE

           Christopher J. Letkewicz
        I, _______________________________,       certify [if an attorney]/declare under penalty of
perjury under the laws of the United States of America [if a non-attorney] that I served a copy of
this notice and the attached motion on each entity shown on the attached list at the address shown
                                                October 13, 2023
and by the method indicated on the list on _____________________        , at __________.


                                       Christopher J. Letkewicz
                                      _____________________________
                                      [Signature]




                                               -2-
  Case 23-04510      Doc 20    Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Main
                                Document     Page 3 of 11



Notice sent by overnight Federal Express:

Joliet Oncology-Hematology Associates, Ltd.
c/o Barnes & Thornburg, LLC
Attn: Denise Lazar & Erin Pauley
1 N. Wacker Drive, Suite 1400
Chicago, IL 60606

Notice sent by ECF associated with the case:

Lester A. Ottenheimer, counsel for Debtor

Deborah Kanner Ebner, Chapter 7 Trustee
  Case 23-04510       Doc 20     Filed 10/13/23 Entered 10/13/23 17:58:15            Desc Main
                                  Document     Page 4 of 11



                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re:                                               )         No. 23-B-04510
Midwest Leasing of Illinois, LLC,                    )         Chapter 7
                                                     )         Judge Janet S. Baer
        Debtor.                                      )
                                                     )



        MOTION OF CREDITOR PRESENCE FOR AN ORDER (I) REOPENING
        CASE AND (II) THAT THE MAY 2, 2023 ARBITRATION AWARD DID
         NOT VIOLATE AUTOMATIC STAY OR IN THE ALTERNATIVE, TO
                        ANNUL THE AUTOMATIC STAY

       Creditor Presence Central and Suburban Hospitals Network f/k/a Presence Hospitals PRV

f/k/a Provena Hospitals (“Presence”) files this Motion for an order: (i) reopening the Chapter 7

case of Midwest Leasing of Illinois, LLC (“Midwest”) for the limited purpose of resolving the

automatic stay issue raised by Midwest in state court litigation and (ii) that the May 2, 2023

arbitration award (the “Award”) against Midwest did not violate the automatic stay, or in the

alternative, to annul the automatic stay. Upon ruling on this Motion, the Court should re-close

this bankruptcy case. In support of this Motion, Presence states as follows:

                                 FACTUAL BACKGROUND

       1.      As this Court is aware from Presence’s Motion to Dismiss Case for Cause

Pursuant to 11 U.S.C. § 707(a) (Dkt. 9), Presence was participating in an arbitration adverse to

Midwest and Midwest’s majority owner, Dr. Sarode K. Pundaleeka. On March 13, 2023, the

arbitrator entered a default order against Midwest and Dr. Pundaleeka and set the matter for a

damages prove-up hearing on April 5, 2023. (Dkt. 9 at ¶ 19.) Unbeknownst to Presence, Midwest

filed its Chapter 7 bankruptcy petition on April 4, 2023.

       2.      On April 5, 2023, the arbitrator held the damages prove-up hearing. (Id. ¶ 20.)

Counsel for Midwest and Dr. Pundaleeka did not appear. (Id.) Prior to starting the hearing, the



                                                 1
  Case 23-04510        Doc 20         Filed 10/13/23 Entered 10/13/23 17:58:15      Desc Main
                                       Document     Page 5 of 11



arbitrator emailed Midwest and Dr. Pundaleeka’s counsel and asked if they would be appearing.

(Id.) The arbitrator received no response and the hearing took place. (Id.) On April 7, the

arbitrator provided the parties the Award, awarding Presence $1,761,846.17 and holding

Midwest and Dr. Pundaleeka jointly and severally liable. (Id.) On April 10, the arbitrator

informed the parties that minor adjustments to the final order would be needed based on Midwest

and Dr. Pundaleeka not paying the required arbitrator fees. (Id.)

        3.      On April 13, Presence received Midwest’s bankruptcy petition in the mail, and

informed the arbitrator of the petition the next day. (Id. ¶ 21.) The arbitrator asked whether Dr.

Pundaleeka had filed for bankruptcy as well, and Presence told him that Dr. Pundaleeka had not

based on the available information. (Id.) On May 2, the arbitrator entered a revised Award in the

amount of $1,765,346.17 (an increase of $3,500) and again holding Midwest and Dr. Pundaleeka

jointly and severally liable. (Id.)

        4.      On May 23, Presence moved to dismiss Midwest’s bankruptcy case for cause

because, in particular, it was “clearly brought in bad faith,” was nothing more than “a mere

litigation tactic” to “thwart Presence from collecting on its claim against [Midwest],” and served

“no legitimate bankruptcy purpose” because Presence was Midwest’s only creditor. (Id. ¶¶ 24,

26, 30.) In that motion, Presence flagged for the Court that the arbitrator had entered the initial

Award on April 7 and the revised final Award on May 2 after Midwest’s bankruptcy petition.

(Id. ¶¶ 20–21 & n.6.) Midwest initially objected to the motion. (Dkt. 10.)

        5.      On June 14, the Court held a hearing on Presence’s motion to dismiss. There, the

bankruptcy trustee stated: “I don’t see a basis for this bankruptcy filing.” (Ex. A at 2:19–20.) In

response, the Court stated: “I thought that might be what you sa[y] because that was my

conclusion, too. Mr. Ottenheimer [Midwest’s counsel], I don’t see what your response could be.”




                                                  2
     Case 23-04510    Doc 20     Filed 10/13/23 Entered 10/13/23 17:58:15           Desc Main
                                  Document     Page 6 of 11



(Id. 3:6–10.) At no point during the hearing, did the bankruptcy trustee, Midwest’s counsel, or

the Court express the view that the Award violated the automatic stay.

         6.    Midwest then withdrew its objection, (Dkt. 15), and the Court, on June 30,

granted Presence’s motion and dismissed Midwest’s bankruptcy case. (Dkt. 16.) At no point

during the nearly three months that Midwest’s bankruptcy case was pending did Midwest claim

that the Award violated the automatic stay.

         7.    Presence then filed a motion in the Circuit Court of Will County to confirm the

Award against Midwest and Dr. Pundaleeka. Midwest and Dr. Pundaleeka filed a petition to

vacate the Award. In their petition to vacate, Midwest and Dr. Pundaleeka argued, among other

things, that the Award should be vacated because it violated the automatic stay. (See generally

Ex. B (Midwest’s petition); Ex. C (Presence’s Opposition).) The Will County circuit court heard

argument on the cross motions on September 26, 2023. The Will County circuit court then

confirmed the Award as to Dr. Pundaleeka, but entered and continued the motion to

confirm/petition to vacate as to Midwest. (Ex. D at ¶¶ 1–2.) The Will County circuit court

directed the parties to address the automatic stay issue raised by Midwest with this Court.

                                          ARGUMENT

         8.    Good cause exists to reopen this case for the limited purpose of resolving the

automatic stay issue raised by Midwest because (1) the Will County circuit court directed the

parties to come to this Court to resolve this issue and (2) bankruptcy courts have exclusive

jurisdiction to determine the extent and scope of an automatic stay. This Court then should

conclude that the Award does not violate the automatic stay, or alternatively, annul the automatic

stay because the equities clearly favor Presence.

I.       Good Cause Exists to Reopen This Case for the Limited Purpose of Resolving the
         Automatic Stay Issue.

         9.    Under 11 U.S.C. § 350(b), a case may be reopened “for other cause.” 11 U.S.C. §

                                                    3
  Case 23-04510       Doc 20     Filed 10/13/23 Entered 10/13/23 17:58:15            Desc Main
                                  Document     Page 7 of 11



350(b). The Bankruptcy Code does not define “other cause,” and, as a result, a bankruptcy judge

has “broad jurisdiction” to “weigh the equitable factors” in the case in determining whether to

reopen the case. In re Matter of Shondel, 950 F.2d 1301, 1304 (7th Cir. 1991) (citations and

internal quotations omitted). Here, the equities clearly favor reopening the case for the limited

purpose of resolving the automatic stay issue raised by Midwest. The Will County circuit court

refused to rule on the automatic stay issue raised by Midwest and specifically directed the parties

to bring this issue to this Court for resolution. (Ex. D at ¶¶ 1–2.) That was the correct decision

because bankruptcy courts have exclusive jurisdiction to determine whether a violation of the

automatic stay has taken place and provide any relief, as a result. See, e.g., E. Equip. & Servs.

Corp. v. Factory Point Nat’l Bank, 236 F.3d 117, 121 (2d Cir. 2001); Halas v. Platek, 239 B.R.

784, 792–93 (N.D. Ill. 1999).

II.    The Award Did Not Violate the Automatic Stay, or Alternatively, the Automatic
       Stay Should be Annulled.

       10.     The Court should concluded that the Award here did not violate the automatic

stay for three reasons. First, Midwest is not entitled to the protection of the automatic stay when

it engaged in inequitable conduct by filing a baseless and bad faith bankruptcy petition.

Bankruptcy courts are courts of equity. E.g., Matthews v. Rosene, 739 F.2d 249, 251 (7th Cir.

1984). As a result, “[e]quitable defenses, including unclean hands … may be raised by persons

accused of violating the automatic stay.” In re Den Beste, 2012 WL 2061402, at *1 (Bankr. N.D.

Cal. June 6, 2012) (collecting cases). Put another way, “[s]uspension of Section 362 automatic

stay provisions may be consonant with the purposes of the Bankruptcy Act when equitable

considerations weigh heavily in favor of the creditor.” Matthews, 739 F.2d at 251.

       11.     Here, Midwest filed its bankruptcy petition in bad faith in a transparent effort to

frustrate Presence’s ability to collect on its claim against Midwest. (Ex. A at 2:19–20, 3:5–10,



                                                4
  Case 23-04510       Doc 20      Filed 10/13/23 Entered 10/13/23 17:58:15             Desc Main
                                   Document     Page 8 of 11



3:19–4:1; Dkt. 9 at ¶¶ 24–26; Dkt. 16.) That alone is sufficient to deny Midwest the benefit of

the automatic stay. In re Mack, 2007 WL 1222575, at *4–5 (M.D. Fla. Apr. 24, 2007) (affirming

bankruptcy court’s decision that debtor not entitled to protection of automatic stay where debtor

filed bankruptcy in bad faith); see also In re Basrah Custom Design, 600 B.R. 385, 386–87

(Bankr. E.D. Mich. 2019) (denying motion to enforce automatic stay where debtor had unclean

hands “in filing and prosecuting this bankruptcy case”).

        12.     Second, Midwest was well aware that the Award was entered after its bankruptcy

filing, but never claimed in the three months its bankruptcy case was pending that the Award

violated the automatic stay. Midwest does not and cannot justify its delay for seeking relief in

connection with the stay. See Sole Survivor Corp. v. Buxbaum, 2009 WL 210471, at *8 (C.D.

Cal. Jan. 22, 2009) (affirming denial of motion alleging violation of automatic stay where debtor

did not raise issue until after bankruptcy case was dismissed).

        13.     Third, the bankruptcy trustee and bankruptcy court were aware that the Award

was entered after Midwest’s bankruptcy filing, but took no action to void the Award because it

purportedly violated the automatic stay. This too shows that there was no violation of the stay.

See id. (citing the bankruptcy trustee’s and bankruptcy court’s awareness of the post-petition

foreclosure and lack of effort to void the foreclosure as another basis to conclude there was no

violation of stay).

        14.     In the alternative to simply holding that the Award did not violate the automatic

stay, the Court should annul the automatic stay. Bankruptcy courts such as this one have such

authority under 11 U.S.C. § 362(d). E.g., In re Chellino, 2022 WL 1180621, at *5 (Bankr. N.D.

Ill. Apr. 13, 2022). In fact, this Court has “wide latitude” to grant such relief. E.g., id. (citation

and internal quotations omitted). “The Bankruptcy Code does not delineate when cause exists to

annul the stay, but instead affords discretion to the Court to make that determination on a case-

                                                  5
  Case 23-04510        Doc 20      Filed 10/13/23 Entered 10/13/23 17:58:15         Desc Main
                                    Document     Page 9 of 11



by-case basis, based on equitable factors.” Id. (citation and internal quotations); see also In re

Nat’l Env’t Waste Corp., 129 F.3d 1052, 1055 (9th Cir. 1997). Here, the equitable factors clearly

favor Presence for four reasons.

       15.     First, Midwest did not file its bankruptcy petition in good faith. (See supra at ¶

11; see also Dkt. 9 at ¶¶ 24–26; Dkt. 16); see, e.g., In re Albany Partners, Ltd., 749 F.2d 670,

675 (affirming annulment of automatic stay where “the petition was not filed in good faith”).

       16.     Second, Midwest did not raise the automatic stay issue until after its bankruptcy

petition was dismissed. (See Ex. B at 4–5.) It would therefore be inequitable to allow Midwest to

void the Award on such an untimely assertion. See, e.g., In re Chellino, 2022 WL 1180621, at *5

(concluding equities favored annulling automatic stay where debtor did not raise automatic stay

issue “until the very end of the case”); In re Nat’l Env’t Waste Corp., 129 F.3d at 1055 (same,

where debtor was represented by counsel and waited until after confirmation of Chapter 11 plan

to raise automatic stay issue).

       17.     Third, judicial economy favors annulling the automatic stay. At the time of

Midwest’s April 4, 2023 bankruptcy petition, the parties had completed discovery, and the

arbitrator had entered the default order, with the only remaining issue to determine being

damages. (See supra at ¶ 1.) Determining damages was a straight-forward issue because

Presence’s claim – unjust enrichment – was premised on errant payments made to Midwest; and,

as a result, determining damages was simply adding up all the errant payments. (See Dkt. 9 at

11.) Further, the automatic stay did not apply to Dr. Pundaleeka. See In re Caesars Entm’t

Operating Co., 540 B.R. 637, 643 (Bankr. N.D. Ill. 2015). Despite that, Dr. Pundaleeka did not

bother to show up for the damages prove-up hearing, likely recognizing that calculating damages

was simple and straight-forward. Given how far along the arbitration was, it would be inefficient

to void the Award as to Midwest, have another damages prove-up hearing for Midwest only, and

                                                6
  Case 23-04510       Doc 20     Filed 10/13/23 Entered 10/13/23 17:58:15           Desc Main
                                 Document      Page 10 of 11



have the arbitrator reach the same conclusion as he did with respect to Dr. Pundaleeka. See In re

MarketXT Holdings Corp., 2009 WL 2957809, at *4–5 (Bankr. S.D.N.Y. July 20, 2009)

(annulling the automatic stay in connection with arbitration award where judicial economy

favored validation of arbitration proceedings in light of “the significant amount of time, effort,

and resources” spent in the arbitration process).

       18.     Fourth, Midwest cannot show that any violation of the automatic stay resulted in

Midwest suffering any actual harm. As this Court correctly recognized previously, Presence was

Midwest’s only creditor. (Ex. A at 3:19–4:1.) Presence took no action to confirm or collect on

the Award while Midwest’s bankruptcy case was pending. Because of that, Midwest cannot

show it suffered from any harm by the arbitrator entering the Award after Midwest’s bankruptcy

petition, and further supports annulling the automatic stay. See, e.g., In re Chellino, 2022 WL

1180621, at *6 (citing the lack of harm as another basis supporting annulling the automatic stay).

                                         CONCLUSION

       19.     For above discussed reasons, this Court should enter an order: (i) reopening

Midwest’s case for the limited purpose of resolving the automatic stay issue raised by Midwest

in the state court litigation, and (ii) that May 2, 2023 Award against Midwest did not violate the

automatic stay, or in the alternative, annulling the automatic stay. Upon ruling on this Motion,

the Court should re-close this bankruptcy case.




                                                    7
  Case 23-04510     Doc 20   Filed 10/13/23 Entered 10/13/23 17:58:15       Desc Main
                             Document      Page 11 of 11



                                             Respectfully submitted,


                                        By:/s/Christopher J. Letkewicz
Dated: October 13, 2023                    Christopher J. Letkewicz
                                           Sven T. Nylen
                                           Benesch, Friedlander, Coplan & Aronoff LLP
                                           71 South Wacker Drive, Suite 1600
                                           Chicago, Illinois 60606-4637
                                           312.212.4949

                                             Attorneys for Creditor Presence Central and
                                             Suburban Hospitals Network




                                         8
